Case 9:10-cv-81575-KLR Document 6 Entered on FLSD Docket 01/12/2011 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                         Case No.: 10-CV-81575-RYSKAMP/VITUNAC

 JONATHAN C. LAFONTIN,

        Plaintiff,

 v.

 IMPERIAL CREDIT
 SYSTEMS, INC.,

        Defendant.
                               /

                                              ORDER

        THIS CAUSE comes before the Court on plaintiff’s notice of voluntary dismissal with

 prejudice [DE 5] filed on January 7, 2011. The plaintiff advises the Court that the parties have

 amicably settled this matter. It is hereby

        ORDERED AND ADJUDGED that this case is DISMISSED WITH PREJUDICE.

 Any pending motions are DENIED AS MOOT. The Clerk of Court is directed to CLOSE

 THIS CASE.

        DONE AND ORDERED in Chambers at West Palm Beach, Florida this 11 day of

 January, 2011.


                                                    /s/ Kenneth L. Ryskamp
                                                    KENNETH L. RYSKAMP
                                                    UNITED STATES DISTRICT JUDGE




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